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                  Exhibit 41
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https://policies.google.com/terms?hl=en-US

GOOGL E TERM S OF SERVICE



Effective January 5, 2022

Archived versions




What’s covered in these terms

We know it’s tempting to skip these Terms of Service, but
it’s important to establish what you can expect from us as
you use Google services, and what we expect from you.

These Terms of Service reflect the way Google’s business works, the laws that apply to our company, and
certain things we’ve always believed to be true. As a result, these Terms of Service help define Google’s
relationship with you as you interact with our services. For example, these terms include the following topic
headings:


     What you can expect from us, which describes how we provide and develop our services


     What we expect from you, which establishes certain rules for using our services


     Content in Google services, which describes the intellectual property rights to the content you find in our
     services — whether that content belongs to you, Google, or others


     In case of problems or disagreements, which describes other legal rights you have, and what to expect
     in case someone violates these terms


Understanding these terms is important because, by using our services, you’re agreeing to these terms.


Besides these terms, we also publish a Privacy Policy. We encourage you to read it to better understand how
you can update, manage, export, and delete your information.




Terms



Service provider
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Google services are provided by, and you’re contracting with:


Google LLC
organized under the laws of the State of Delaware, USA, and operating under the laws of the USA


1600 Amphitheatre Parkway
Mountain View, California 94043
USA




Age requirements

If you’re under the age required to manage your own Google Account, you must have your parent or legal
guardian’s permission to use a Google Account. Please have your parent or legal guardian read these terms
with you.


If you’re a parent or legal guardian, and you allow your child to use the services, then these terms apply to
you and you’re responsible for your child’s activity on the services.


Some Google services have additional age requirements as described in their service-specific additional terms
and policies.




Your relationship with Google

These terms help define the relationship between you and Google. Broadly speaking, we give you permission
to use our services if you agree to follow these terms, which reflect how Google’s business works and how we
earn money. When we speak of “Google,” “we,” “us,” and “our,” we mean Google LLC and its affiliates.




What you can expect from us


Provide a broad range of useful services

We provide a broad range of services that are subject to these terms, including:
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     apps and sites (like Search and Maps)


     platforms (like Google Shopping)


     integrated services (like Maps embedded in other companies’ apps or sites)


     devices (like Google Nest)


Many of these services also include content that you can stream or interact with.


Our services are designed to work together, making it easier for you to move from one activity to the next. For
example, if your Calendar event includes an address, you can click on that address and Maps can show you
how to get there.




Develop, improve, and update Google services

We’re constantly developing new technologies and features to improve our services. For example, we use
artificial intelligence and machine learning to provide you with simultaneous translations, and to better detect
and block spam and malware. As part of this continual improvement, we sometimes add or remove features
and functionalities, increase or decrease limits to our services, and start offering new services or stop
offering old ones. When a service requires or includes downloadable software, that software sometimes
updates automatically on your device once a new version or feature is available. Some services let you adjust
your automatic update settings.


If we make material changes that negatively impact your use of our services or if we stop offering a service,
we’ll provide you with reasonable advance notice, except in urgent situations such as preventing abuse,
responding to legal requirements, or addressing security and operability issues. We’ll also provide you with an
opportunity to export your content from your Google Account using Google Takeout, subject to applicable
law and policies.




What we expect from you


Follow these terms and service-specific additional terms


The permission we give you to use our services continues as long as you comply with:


     these terms
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     service-specific additional terms, which could, for example, include things like additional age
     requirements


You also agree that our Privacy Policy applies to your use of our services. Additionally, we provide resources
like the Copyright Help Center, Safety Center, and descriptions of our technologies from our policies site to
answer common questions and to set expectations about using our services.


Although we give you permission to use our services, we retain any intellectual property rights we have in the
services.




Respect others


We want to maintain a respectful environment for everyone, which means you must follow these basic rules
of conduct:


     comply with applicable laws, including export control, sanctions, and human trafficking laws


     respect the rights of others, including privacy and intellectual property rights


     don’t abuse or harm others or yourself (or threaten or encourage such abuse or harm) — for example, by
     misleading, defrauding, illegally impersonating, defaming, bullying, harassing, or stalking others


     don’t abuse, harm, interfere with, or disrupt the services — for example, by accessing or using them in
     fraudulent or deceptive ways, introducing malware, or spamming, hacking, or bypassing our systems or
     protective measures. When we index the web to bring you search results, we respect standard usage
     restrictions that website owners specify in their websites’ code, so we require the same when others use
     our services


Our service-specific additional terms and policies provide additional details about appropriate conduct that
everyone using those services must follow. If you find that others aren’t following these rules, many of our
services allow you to report abuse. If we act on a report of abuse, we also provide the process described in
the Taking action in case of problems section.




Permission to use your content


Some of our services are designed to let you upload, submit, store, send, receive, or share your content. You
have no obligation to provide any content to our services and you’re free to choose the content that you want
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to provide. If you choose to upload or share content, please make sure you have the necessary rights to do so
and that the content is lawful.




    License
    Your content remains yours, which means that you retain any intellectual property rights that you
    have in your content. For example, you have intellectual property rights in the creative content you
    make, such as reviews you write. Or you may have the right to share someone else’s creative content
    if they’ve given you their permission.


    We need your permission if your intellectual property rights restrict our use of your content. You
    provide Google with that permission through this license.




    What’s covered

    This license covers your content if that content is protected by intellectual property rights.




    What’s not covered

         This license doesn’t affect your privacy rights — it’s only about your intellectual property rights


         This license doesn’t cover these types of content:


                  publicly-available factual information that you provide, such as corrections to the
                  address of a local business. That information doesn’t require a license because it’s
                  considered common knowledge that everyone’s free to use.


                  feedback that you offer, such as suggestions to improve our services. Feedback is
                  covered in the Service-related communications section below.




    Scope

    This license is:


         worldwide, which means it’s valid anywhere in the world


         non-exclusive, which means you can license your content to others
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     royalty-free, which means there are no monetary fees for this license




Rights

This license allows Google to:


     host, reproduce, distribute, communicate, and use your content — for example, to save your
     content on our systems and make it accessible from anywhere you go


     publish, publicly perform, or publicly display your content, if you’ve made it visible to others


     modify and create derivative works based on your content, such as reformatting or translating
     it


     sublicense these rights to:


              other users to allow the services to work as designed, such as enabling you to share
              photos with people you choose


              our contractors who’ve signed agreements with us that are consistent with these terms,
              only for the limited purposes described in the Purpose section below




Purpose

This license is for the limited purpose of:


     operating and improving the services, which means allowing the services to work as designed
     and creating new features and functionalities. This includes using automated systems and
     algorithms to analyze your content:


              for spam, malware, and illegal content


              to recognize patterns in data, such as determining when to suggest a new album in
              Google Photos to keep related photos together


              to customize our services for you, such as providing recommendations and
              personalized search results, content, and ads (which you can change or turn off in Ads
              Settings)
     This analysis occurs as the content is sent, received, and when it is stored.
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         using content you’ve shared publicly to promote the services. For example, to promote a
         Google app, we might quote a review you wrote. Or to promote Google Play, we might show a
         screenshot of the app you offer in the Play Store.


         developing new technologies and services for Google consistent with these terms




    Duration

    This license lasts for as long as your content is protected by intellectual property rights.


    If you remove from our services any content that’s covered by this license, then our systems will stop
    making that content publicly available in a reasonable amount of time. There are two exceptions:


         If you already shared your content with others before removing it. For example, if you shared a
         photo with a friend who then made a copy of it, or shared it again, then that photo may
         continue to appear in your friend’s Google Account even after you remove it from your Google
         Account.


         If you make your content available through other companies’ services, it’s possible that search
         engines, including Google Search, will continue to find and display your content as part of their
         search results.




Using Google services



Your Google Account
If you meet these age requirements you can create a Google Account for your convenience. Some services
require that you have a Google Account in order to work — for example, to use Gmail, you need a Google
Account so that you have a place to send and receive your email.


You’re responsible for what you do with your Google Account, including taking reasonable steps to keep your
Google Account secure, and we encourage you to regularly use the Security Checkup.
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Using Google services on behalf of an organization or business
Many organizations, such as businesses, non-profits, and schools, take advantage of our services. To use
our services on behalf of an organization:


     an authorized representative of that organization must agree to these terms


     your organization’s administrator may assign a Google Account to you. That administrator might
     require you to follow additional rules and may be able to access or disable your Google Account.




Service-related communications
To provide you with our services, we sometimes send you service announcements and other information. To
learn more about how we communicate with you, see Google’s Privacy Policy.


If you choose to give us feedback, such as suggestions to improve our services, we may act on your feedback
without obligation to you.




Content in Google services



Your content

Some of our services give you the opportunity to make your content publicly available — for example, you
might post a product or restaurant review that you wrote, or you might upload a blog post that you created.


     See the Permission to use your content section for more about your rights in your content, and how
     your content is used in our services


     See the Removing your content section to learn why and how we might remove user-generated content
     from our services


If you think someone is infringing your intellectual property rights, you can send us notice of the infringement
and we’ll take appropriate action. For example, we suspend or close the Google Accounts of repeat copyright
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infringers as described in our Copyright Help Center.




Google content
Some of our services include content that belongs to Google — for example, many of the visual illustrations
you see in Google Maps. You may use Google’s content as allowed by these terms and any service-specific
additional terms, but we retain any intellectual property rights that we have in our content. Don’t remove,
obscure, or alter any of our branding, logos, or legal notices. If you want to use our branding or logos, please
see the Google Brand Permissions page.




Other content
Finally, some of our services give you access to content that belongs to other people or organizations — for
example, a store owner’s description of their own business, or a newspaper article displayed in Google News.
You may not use this content without that person or organization’s permission, or as otherwise allowed by
law. The views expressed in other people or organizations’ content are theirs, and don’t necessarily reflect
Google’s views.




Software in Google services

Some of our services include downloadable software. We give you permission to use that software as part of
the services.


The license we give you is:


     worldwide, which means it’s valid anywhere in the world


     non-exclusive, which means that we can license the software to others


     royalty-free, which means there are no monetary fees for this license


     personal, which means it doesn’t extend to anyone else


     non-assignable, which means you’re not allowed to assign the license to anyone else
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Some of our services include software that’s offered under open source license terms that we make available
to you. Sometimes there are provisions in the open source license that explicitly override parts of these terms,
so please be sure to read those licenses.


You may not copy, modify, distribute, sell, or lease any part of our services or software.




In case of problems or disagreements



Warranty disclaimer

We built our reputation on providing useful, reliable services like Google Search and Maps, and we’re
continuously improving our services to meet your needs. However, for legal purposes, we offer our services
without warranties unless explicitly stated in our service-specific additional terms. The law requires that we
explain this using specific legal language and that we use capital letters to help make sure you see it, as
follows:


TO THE EXTENT ALLOWED BY APPLICABLE LAW, WE PROVIDE OUR SERVICES “AS IS” WITHOUT ANY
EXPRESS OR IMPLIED WARRANTIES, INCLUDING THE IMPLIED WARRANTIES OF MERCHANTABILITY,
FITNESS FOR A PARTICULAR PURPOSE, AND NON-INFRINGEMENT. FOR EXAMPLE, WE DON’T MAKE ANY
WARRANTIES ABOUT THE CONTENT OR FEATURES OF THE SERVICES, INCLUDING THEIR ACCURACY,
RELIABILITY, AVAILABILITY, OR ABILITY TO MEET YOUR NEEDS.




Liabilities


For all users

Both the law and these terms try to strike a balance as to what you or Google can claim from the other in
case of problems. That’s why the law allows us to limit certain liabilities — but not others — under these
terms.


These terms only limit our responsibilities as allowed by applicable law. These terms don’t limit liability for
gross negligence or willful misconduct.
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To the extent allowed by applicable law:


     Google is liable only for its breaches of these terms or applicable service-specific additional terms


     Google isn’t liable for:


             loss of profits, revenues, business opportunities, goodwill, or anticipated savings


             indirect or consequential losses


             punitive damages


     Google’s total liability arising out of or relating to these terms is limited to the greater of (1) $200 or (2)
     the fees paid to use the relevant services in the 12 months before the dispute




For business users and organizations only

If you’re a business user or organization:


     To the extent allowed by applicable law, you’ll indemnify Google and its directors, officers, employees,
     and contractors for any third-party legal proceedings (including actions by government authorities)
     arising out of or relating to your unlawful use of the services or violation of these terms or service-
     specific additional terms. This indemnity covers any liability or expense arising from claims, losses,
     damages, judgments, fines, litigation costs, and legal fees.


     If you’re legally exempt from certain responsibilities, including indemnification, then those
     responsibilities don’t apply to you under these terms. For example, the United Nations enjoys certain
     immunities from legal obligations and these terms don’t override those immunities.




Taking action in case of problems

Before taking action as described below, we’ll provide you with advance notice when reasonably possible,
describe the reason for our action, and give you an opportunity to fix the problem, unless doing so would:


     cause harm or liability to a user, third party, or Google


     violate the law or a legal enforcement authority’s order


     compromise an investigation


     compromise the operation, integrity, or security of our services
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Removing your content

If any of your content (1) breaches these terms, service-specific additional terms or policies, (2) violates
applicable law, or (3) could harm our users, third parties, or Google, then we reserve the right to take down
some or all of that content in accordance with applicable law. Examples include child pornography, content
that facilitates human trafficking or harassment, terrorist content, and content that infringes someone else’s
intellectual property rights.




Suspending or terminating your access to Google services

Google reserves the right to suspend or terminate your access to the services or delete your Google Account
if any of these things happen:


     you materially or repeatedly breach these terms, service-specific additional terms or policies


     we’re required to do so to comply with a legal requirement or a court order


     your conduct causes harm or liability to a user, third party, or Google — for example, by hacking,
     phishing, harassing, spamming, misleading others, or scraping content that doesn’t belong to you


For more information about why we disable accounts and what happens when we do, see this Help Center
page. If you believe your Google Account has been suspended or terminated in error, you can appeal.


Of course, you’re always free to stop using our services at any time. If you do stop using a service, we’d
appreciate knowing why so that we can continue improving our services.




Settling disputes, governing law, and courts

For information about how to contact Google, please visit our contact page.


California law will govern all disputes arising out of or relating to these terms, service-specific additional
terms, or any related services, regardless of conflict of laws rules. These disputes will be resolved exclusively
in the federal or state courts of Santa Clara County, California, USA, and you and Google consent to personal
jurisdiction in those courts.
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About these terms

By law, you have certain rights that can’t be limited by a contract like these terms of service. These terms are
in no way intended to restrict those rights.


These terms describe the relationship between you and Google. They don’t create any legal rights for other
people or organizations, even if others benefit from that relationship under these terms.


We want to make these terms easy to understand, so we’ve used examples from our services. But not all
services mentioned may be available in your country.


If these terms conflict with the service-specific additional terms, the additional terms will govern for that
service.


If it turns out that a particular term is not valid or enforceable, this will not affect any other terms.


If you don’t follow these terms or the service-specific additional terms, and we don’t take action right away,
that doesn’t mean we’re giving up any rights that we may have, such as taking action in the future.


We may update these terms and service-specific additional terms (1) to reflect changes in our services or how
we do business — for example, when we add new services, features, technologies, pricing, or benefits (or
remove old ones), (2) for legal, regulatory, or security reasons, or (3) to prevent abuse or harm.


If we materially change these terms or service-specific additional terms, we’ll provide you with reasonable
advance notice and the opportunity to review the changes, except (1) when we launch a new service or
feature, or (2) in urgent situations, such as preventing ongoing abuse or responding to legal requirements. If
you don’t agree to the new terms, you should remove your content and stop using the services. You can also
end your relationship with us at any time by closing your Google Account.




DEF IN ITION S




affiliate

An entity that belongs to the Google group of companies, which means Google LLC and its subsidiaries,
including the following companies that provide consumer services in the EU: Google Ireland Limited, Google
Commerce Limited, and Google Dialer Inc.
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business user

An individual or entity who is not a consumer (see consumer).




consumer

An individual who uses Google services for personal, non-commercial purposes outside of their trade,
business, craft, or profession. (See business user)




copyright

A legal right that allows the creator of an original work (such as a blog post, photo, or video) to decide if and
how that original work may be used by others, subject to certain limitations and exceptions (such as “fair
use” and “fair dealing”).




disclaimer

A statement that limits someone’s legal responsibilities.




indemnify or indemnity

An individual or organization’s contractual obligation to compensate the losses suffered by another
individual or organization from legal proceedings such as lawsuits.




intellectual property rights (IP rights)

Rights over the creations of a person’s mind, such as inventions (patent rights); literary and artistic works
(copyright); designs (design rights); and symbols, names, and images used in commerce (trademarks). IP
rights may belong to you, another individual, or an organization.




liability
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Losses from any type of legal claim, whether the claim is based on a contract, tort (including negligence), or
other reason, and whether or not those losses could have been reasonably anticipated or foreseen.




organization

A legal entity (such as a corporation, non-profit, or school) and not an individual person.




services

The Google services that are subject to these terms are the products and services listed at
https://policies.google.com/terms/service-specific, including:


     apps and sites (like Search and Maps)


     platforms (like Google Shopping)


     integrated services (like Maps embedded in other companies’ apps or sites)


     devices and other goods (like Google Nest)


Many of these services also include content that you can stream or interact with.




trademark

Symbols, names, and images used in commerce that are capable of distinguishing the goods or services of
one individual or organization from those of another.




warranty

An assurance that a product or service will perform to a certain standard.




your content

Things that you create, upload, submit, store, send, receive, or share using our services, such as:
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Docs, Sheets, and Slides you create


blog posts you upload through Blogger


reviews you submit through Maps


videos you store in Drive


emails you send and receive through Gmail


pictures you share with friends through Photos


travel itineraries that you share with Google
